           Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 1 of 11




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     Attorney(s) for Plaintiff Symbology Innovations, LLC

9
                       IN THE UNITED STATES DISTRICT COURT
10                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12    SYMBOLOGY INNOVATIONS, LLC,                 CASE NO.:
13                        Plaintiff,
                                                  COMPLAINT FOR PATENT
14
      v.                                          INFRINGEMENT
15
      TOPCON POSITIONING SYSTEMS,
16    INC.,                                       JURY TRIAL DEMANDED
17                        Defendant.
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                  COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
        Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 2 of 11




1                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
2           1.    Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and
3    through its counsel, hereby brings this action for patent infringement against Topcon
4    Positioning Systems, Inc. (“TopCon” or “Defendant”) alleging infringement of the
5    following validly issued patent (the “Patent-in-Suit”): U.S. Patent No. 8,424,752 titled
6    “System and method for presenting information about an object on a portable electronic
7    device” (the “’752 Patent”), attached hereto as Exhibit A.
8                                 NATURE OF THE ACTION
9           2.    This is an action for patent infringement arising under the United States
10   Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.
11                                          PARTIES
12          3.    Plaintiff Symbology Innovations, LLC is a Texas company with its
13   principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.
14          4.    On information and belief, Defendant Topcon, Inc. is incorporated in
15   California with a principle place of business in the state of California at 7400 National
16   Drive, Livermore, CA 94550. Defendant may be served in the state of California
17   through its registered agent for process Brian Hester, 7400 National Drive, Livermore,
18   CA 94550.
19                              JURISDICTION AND VENUE
20          5.    This lawsuit is a civil action for patent infringement arising under the
21   patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-matter
22   jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.
23          6.    The Court has personal jurisdiction over Defendant for the following
24   reasons: (1) Defendant is present within or has minimum contacts within the State of
25   California and the Northern District of California; (2) Defendant has purposefully
26   availed itself of the privileges of conducting business in the State of California and in
27   this district; (3) Defendant has sought protection and benefit from the laws of the State
28   of California; (4) Defendant regularly conducts business within the State of California
                                              2
                 COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
        Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 3 of 11




1    and within this district, and Plaintiff’s cause of action arises directly from Defendant’s
2    business contacts and other activities in the State of California and in this district; and
3    (5) Defendant has a principal business address in California has purposely availed itself
4    of the privileges and benefits of the laws of the State of California.
5           7.    Defendant, directly and/or through intermediaries, ships, distributes, uses,
6    offers for sale, sells, and/or advertises products and services in the United States, the
7    State of California, and in the Northern District of California including but not limited
8    to the products which contain the infringing ’752 Patent systems and methods as
9    detailed below. Upon information and belief, Defendant has committed patent
10   infringement in the State of California and in this district; Defendant solicits and has
11   solicited customers in the State of California and in this district; and Defendant has
12   paying customers who are residents of the State of California and in this district and
13   who each use and have used the Defendant’s products and services in the State of
14   California and in this district.
15          8.    Venue is proper in the Northern District of California pursuant to 28
16   U.S.C. §§ 1400(b). Defendant has a principal place of business in this district, has
17   transacted business in this district, and has directly and/or indirectly committed acts of
18   patent infringement in this district.
19                                       PATENT-IN-SUIT
20          9.    The Patent-in-Suit teaches systems and methods for enabling a portable
21   electronic device (e.g., smartphone) to retrieve information about an object when the
22   object’s symbology (e.g. QR code) is detected.
23                          SUMMARY OF INFRINGING ACTIONS
24           10. Topcon advertises that its “mission is simple – to help grow your
25   business.” See Ex. 1, available at https://www.topconpositioning.com/why-topcon. In
26   order to realize that vision, Topcon is “dedicated to creating the technologies and
27   bringing you the solutions to drive your success.” See Ex. 1.
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                 COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
        Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 4 of 11




1           11.    One of the technologies Topcon utilizes to drive
2    customer success is the QR code. For example, Topcon uses QR
3    codes on products such as its HiPer SR shown here in figure 1.
4                                                                            Figure 1
5           12. Topcon utilizes QR codes in its software such as eGIS. See Ex. 2, available
6    at https://www.topconpositioning.com/insights/topcon-releases-egis-android; Ex. 3,
7    available    at   https://www.topconpositioning.com/na/support/article/egis-android-
8    launcher-installation.
9           13. And Topcon utilizes QR codes in its manuals. See Ex. 4.
10
                                           COUNT I
11                        (Infringement of U.S. Patent No. 8,424,752)
12          14.   Plaintiff incorporates by reference the allegations of paragraphs 1-13, the
13   same as if set forth herein.
14          15.   The ’752 Patent is valid, enforceable, and was duly and legally issued by
15   the United States Patent and Trademark Office (“USPTO”) on April 23, 2013. The ’752
16   Patent is presumed valid and enforceable. See 35 U.S.C. § 282.
17          16.   Plaintiff is the owner by assignment of the ’752 patent and possesses all
18   rights of recovery under the ’752 patent, including the exclusive right enforce the ’752
19   patent and pursue lawsuits against infringers.
20          17.   On information and belief, Defendant has infringed and continues to
21   infringe on one or more claims of the ’752 Patent—directly, contributorily, and by
22   inducement—by importing, making, using, offering for sale, or selling products and
23   devices that embody the patented invention, including, without limitation, one or more
24   of the patented ’752 systems and methods, in violation of 35 U.S.C. § 271.
25          Direct Infringement
26          18.   On information and belief, Defendant has been and now is directly
27   infringing by, among other things, practicing all of the steps of the ’752 Patent through
28   internal testing, quality assurance, research and development, and troubleshooting. See
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                  COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
        Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 5 of 11




1    Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 775 (Fed.Cir. 1993); see also 35 U.S.C. §
2    271 (2006). For instance, Defendant has directly infringed the Patent-in-Suit by testing,
3    configuring, and troubleshooting the functionality of QR codes on its products and
4    services.
5           19.   By way of example, Defendant has infringed and continues to infringe on
6    at least one or more claims, including at least Claim 1 of the ’752 Patent which teaches
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                  A method comprising:
8                  capturing a digital image using a digital image
                     capturing device that is part of a portable electronic
9
                     device;
10                 detecting symbology associated with an object within
                     the digital image using a portable electronic device;
11
                   decoding the symbology to obtain a decode string
12                   using one or more visual detection applications
                     residing on the portable electronic device;
13
                   sending the decode string to a remote server for
14                 processing:
                   receiving information about the object from the
15
                     remote server wherein the information is based on
16                   the decode string of the object.
                   displaying the information on a display device
17
                     associated with the portable electronic device.
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            20.   On information and belief, at least through testing, quality assurance,

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     troubleshooting, and research and development, Defendant employs a method wherein

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     a digital image (i.e., “QR code”) associated with its products is captured by the camera

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     of a portable electronic device (i.e., a smartphone or tablet) (“capturing a digital image

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                  COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
        Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 6 of 11




1    using a digital image capturing device that is part of a portable electronic device”). See
2    Figures 1, 2, and 3.
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                  Figure 1                     Figure 2                     Figure 3
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            21.   On information and belief, Defendant uses a smartphone, tablet, or similar
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     device to detect symbology (e.g., the QR code) associated with an object such as
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     Defendant’s infringing product exhibited below in Figure 4 (“detecting symbology
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     associated with an object within the digital image using a portable electronic device”).
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25                                           Figure 4

26          22.   On information and belief, Defendant uses a smartphone, tablet, or similar
27   device to decode the symbology to obtain a decode string (e.g., hyperlink) using the
28   visual detection application residing in the smartphone or tablet (“decoding the
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                  COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
        Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 7 of 11




1    symbology to obtain a decode string using one or more visual detection applications
2    residing on the portable electronic device”). For example, a smartphone detects the
3    symbology of the QR code on Defendant’s product and decodes the digital image
4    captured on the smartphone camera to produce a decoded hyperlink as shown in the
5    figures below. The decoded string is sent to a remote server for processing as shown in
6    Figure 5 (“sending the decode string to a remote server for processing”).
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                                            Figure 5

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            23.   On information and belief, after clicking the hyperlink obtained by

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     scanning the QR code associated with the product, the smartphone receives information

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     about the product from a remote server. (“receiving information about the object from

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     the remote server wherein the information is based on the decode string of the object”).

18
     The information is received and displayed on the smartphone as shown in Figure 6

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     below (“displaying the information on a display device associated with the portable

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     electronic device”).

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                  COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
        Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 8 of 11




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10                                            Figure 6
11          Induced Infringement
12          24.   Defendant has been and now is indirectly infringing by way of inducing
13   infringement by others and/or contributing to the infringement by others of the ’752
14   Patent in the State of California, in this judicial District, and elsewhere in the United
15   States, by, among other things, making, using, offering for sale, and/or selling, without
16   license or authority, products affixed with QR codes that require the accused
17   technology for intended functionality, testing, configuration, troubleshooting, and other
18   utilization. End users include, for example, customers, retailers, and other third-parties.
19          25.   Defendant took active steps to induce infringement, such as advertising an
20   infringing use, which supports a finding of an intention. See Metro-Goldwyn-Mayer
21   Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may be presumed from
22   distribution of an article in commerce that the distributor intended the article to be used
23   to infringe another's patent, and so may justly be held liable for that infringement.").
24          26.   The allegations herein support a finding that Defendant induced
25   infringement of the ’752 Patent. See Power Integrations v. Fairchild Semiconductor,
26   843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed induced infringement
27   verdicts based on circumstantial evidence of inducement [e.g., advertisements, user
28   manuals] directed to a class of direct infringers [e.g., customers, end users] without
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                  COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
        Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 9 of 11




1    requiring hard proof that any individual third-party direct infringer was actually
2    persuaded to infringe by that material.”).
3             Contributory Infringement
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              27. On information and belief, Defendant contributorily infringes on

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     Symbology’s ’752 Patent. Defendant knew or should have known, at the very least as

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     a result of its freedom to operate analyses, that third parties, such as its customers,

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     would infringe the ’752 Patent by implementing Defendant’s QR code technology.

8             28.   On information and belief, Defendant’s implementation of the accused
9    functionality has no substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v.
10   Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that the “substantial non-
11   infringing use” element of a contributory infringement claim applies to an infringing
12   feature or component, and that an “infringing feature” of a product does not escape
13   liability simply because the product as a whole has other non-infringing uses).
14            Willful Infringement
15            29.   On information and belief, the infringement of the ’752 Patent by
16   Defendant has been and continues to be willful. Defendant has had actual knowledge
17   of Symbology’s rights in the ’752 Patent and details of Defendant’s infringement based
18   on at least the filing and service of this complaint. Additionally, Defendant had
19   knowledge of the ’752 Patent and its infringement in the course of Defendant’s due
20   diligence and freedom to operate analyses.
21            Plaintiff Suffered Damages
22            30.   Defendant’s acts of infringement of the ’752 Patent have caused damage
23   to Symbology, and Symbology is entitled to recover from Defendant the damages
24   sustained as a result of Defendant’s wrongful acts in an amount subject to proof at trial
25   pursuant to 35 U.S.C. § 271. Defendant’s infringement of Symbology’s exclusive
26   rights under the ’752 Patent will continue to damage Symbology causing it irreparable
27   harm for which there is no adequate remedy at law, warranting an injunction from the
28   Court.
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                    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
       Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 10 of 11




1                                  REQUEST FOR RELIEF
2           31.   Symbology incorporates each of the allegations in the paragraphs above
3    and respectfully asks the Court to:
4          (a)    enter a judgment that Defendant has directly infringed, contributorily
5          infringed, and/or induced infringement of one or more claims of each of the ’752
6          Patent;
7          (b)    enter a judgment awarding Symbology all damages adequate to
8          compensate it for Defendant’s infringement of, direct or contributory, or
9          inducement to infringe, the including all pre-judgment and post-judgment
10         interest at the maximum rate permitted by law;
11         (c)    enter a judgment awarding treble damages pursuant to 35 U.S.C. § 284 for
12         Defendant’s willful infringement of the ’752 Patent;
13         (d)    issue a preliminary injunction and thereafter a permanent injunction
14         enjoining and restraining Defendant, its directors, officers, agents, servants,
15         employees, and those acting in privity or in concert with them, and their
16         subsidiaries, divisions, successors, and assigns, from further acts of
17         infringement, contributory infringement, or inducement of infringement of the
18         ’752 Patent;
19         (e)    enter a judgment requiring Defendant to pay the costs of this action,
20         including all disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285,
21         together with prejudgment interest; and
22         (f)    award Symbology all other relief that the Court may deem just and proper.
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                  COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
       Case 5:19-cv-03036-EJD Document 1 Filed 05/31/19 Page 11 of 11




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     Dated: May 31, 2019                Respectfully submitted,

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               COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
